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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BERKLEY INSURANCE CO., et al.,

              Plaintiffs,

       v.                                  Case No. 1:13-cv-1053 (RCL)

FEDERAL HOUSING FINANCE
AGENCY, et al.,

              Defendants.


In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

__________________                         Case No. 1:13-mc-1288 (RCL)

This document relates to:
ALL CASES


  DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION
      FOR ENTRY OF FINAL JUDGMENT AND PLAN OF ALLOCATION
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                                        INTRODUCTION

       Plaintiffs’ proposed Plan of Allocation (the “Proposed Plan” or “Plan”) suffers from

manifest defects—defects that Defendants highlighted to Plaintiffs during the meet-and-confer

process, but Plaintiffs failed to address. Instead, Plaintiffs urge the Court to adopt a flawed plan

where class members would receive damages attributable to Enterprise shares that were validly

opted out of the classes, while at the same time some shareholders who opted out could

nonetheless receive damages that were awarded to the classes. The Proposed Plan is inconsistent

with the Rules Enabling Act, blackletter class action law, and Plaintiffs’ core theory of this case.

       First, Plaintiffs’ Proposed Plan would distribute to class members the portion of the

jury’s damages award that was based on harm to shareholders who opted out of the classes. The

jury undeniably awarded damages based on the total number of outstanding shares for each

category of stock, including shares owned by opt-outs. Yet, under the Proposed Plan, the jury’s

entire award would be distributed to class members and the Berkley Plaintiffs, with no

accounting for the fact that a portion of that award is attributable to non-Berkley opt-outs. As

explained below, forcing Defendants to pay damages based on harm to opt-outs abridges

Defendants’ substantive rights and violates the Rules Enabling Act. In a footnote, Plaintiffs all

but admit as much: they invite the Court to make a “reduction in the judgment by the aggregate

amount allocable to the shares” held by non-Berkey opt-outs at the time they filed their exclusion

notices. Mot. at 12 n.4. The Court should order the appropriate reduction. Correcting this

obviously improper component of the Proposed Plan, however, still leaves other fundamental

defects that cannot be ignored.

       Second, even if the overall damages award is reduced by an amount attributable to opt-

outs, the Proposed Plan still suffers from another critical problem: It would authorize

distributions to holders of shares that were validly opted out of the classes but then sold again


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after the opt-out deadline. Under the Proposed Plan, if a shareholder validly opted out, the

shares they listed on their exclusion notice are identified and excluded from payment so long as

that same shareholder still holds them on the date of “final judgment” as set forth in the class

definitions. But if that opt-out shareholder has sold the shares (or sells them between now and

the date of final judgment), then those same shares become part of the classes again and receive a

distribution as part of the class recovery. That is contrary to the common law principle that a

person can only sell what she owns. In other words, an assignor (here, the opt out) cannot assign

more rights than they have. Rather, the purchasers of opted-out shares stand in the assignor’s

shoes; they have the right to bring an individual opt-out lawsuit, but not the right to share in

damages awarded to the classes.

       Third, Plaintiffs’ Proposed Plan seeks to distribute unclaimed funds to an unidentified

charity through a cy pres distribution in lieu of reversion to the Defendants. But members of the

Supreme Court have questioned the lawfulness of cy pres. In any event, the equities here favor

reverting any unclaimed funds to the Enterprises. Courts repeatedly have held that reversion is

appropriate where, as here, the classes’ claims are compensatory in nature. Reversion is

particularly appropriate here because it aligns with the interests of absent class members, who

hold stock in the Enterprises and thus would directly benefit from returning any unclaimed funds

to the Enterprises. Reversion also is in the public interest because the Enterprises, and FHFA’s

conservatorship, are designed to further important public purposes and missions, including

stabilizing the mortgage loan industry and supporting affordable housing.

       Unable to defend these improper components of their Plan, Plaintiffs rely mostly on

procedural and waiver arguments. Those arguments are incorrect and, in any case, cannot justify

this Court’s approval of a plan of allocation that is legally improper in multiple ways.




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                               PROCEDURAL BACKGROUND

        On October 24, 2023, the Court directed the parties to submit “a proposed order of final

judgment.” ECF No. 402, at 2.1 On November 17, 2023, the parties filed a joint statement

setting forth their respective positions regarding the entry of final judgment. See ECF No. 408.

Defendants explained that any judgment would not be final or appealable unless it included a

Court-approved plan of allocation, which Plaintiffs at that time had not yet proposed. See id. at

4-6. Plaintiffs argued that the Court could and should enter a final judgment without considering

or approving any plan of allocation. See id. at 8.

        On December 5, 2023, this Court denied Plaintiffs’ request to enter final judgment. See

ECF 409. Agreeing with Defendants, the Court “conclude[d] that a judgment in this case cannot

be final and appealable unless the Court has approved a plan of allocation.” Id. at 1. The Court

accordingly directed the parties to submit a written report regarding Plaintiffs’ proposed plan of

allocation by December 21, 2023. See id. Plaintiffs provided Defendants with a proposed plan

of allocation and proposed judgment on December 19, and on December 21, the parties

submitted a joint statement. See Mot. at 5. On December 22, the Court entered a schedule for

further meet-and-confer discussions and for briefing the parties’ disputes, see ECF No. 412,

which it later extended at the joint request of the parties, ECF No. 414.

        The parties engaged in further meet-and-confer discussions but were unable to reach

agreement on the Proposed Plan. On January 22, 2024, Plaintiffs submitted their Proposed Plan.

The Plan proposes the appointment of an administrator and a distribution mechanism that

essentially seeks to provide class members a “proportional share” of the jury’s damages award,

minus attorneys’ fees and various expenses.



1
    “ECF No.” refers to Case No. 1:13–mc–1288–RCL.


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       The Proposed Plan includes several components at issue here. First, the Plan would pay

out the entire damages award to class members without any accounting for the portion of the

award attributable to Enterprise shares that were validly opted out of the classes. Ex. B, ECF

415-2, at 7 (showing formulas for allocating damages to the class).

       Second, the Plan provides that some opted-out shares should be excluded from the class

recovery, but not others. The Plan defines an “Opt-out” as “a shareholder, other than one or

more of the WR Berkley Plaintiffs, that submitted a timely, complete, and accurate request for

exclusion from the relevant Class(es) in accordance with the instructions set forth in the Notice

of Class Action, and which included an identification of Specified Shares.” Id. at 3-4. The Plan

defines “Specified Shares,” in turn, to mean “the shares of Fannie Mae Junior Preferred Stock,

Freddie Mac Junior Preferred Stock, and/or Freddie Mac Common Stock identified in the

‘Exclusion Report’ dated May 13, 2022.” Id. at 4. The Plan further defines “Held Specified

Shares” to mean “Specified Shares still held by Opt-outs at the time of distribution.” Id. The

Plan provides that only “Held Specified Shares” are excluded from the class recovery. Id. at 5-6,

8-9. The Plan thus simultaneously provides that opt-outs may participate in the class recovery to

the extent the opt-outs hold “Additional Shares” in addition to the shares identified in their opt-

out notice and that any shareholder that purchases “Specified Shares” that were opted-out may

also share in the class recovery. Id. at 9.

       Finally, the Plan provides that in the event there are “any undistributed funds” “such

funds shall be distributed to a cy pres fund for the benefit of an affordable housing fund, for such

subsequent distribution as the Court may later direct.” Id.




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                                          ARGUMENT

I.     The Portion of the Verdict Attributable to Opted-Out Shares Must Be Deducted
       from the Total Amount To Be Distributed to Class Members

       Plaintiffs’ Proposed Plan would improperly pay the entirety of the damages award to

class members and the Berkley Plaintiffs without any accounting for the portion of that award

attributable to shares that were validly opted out of the classes by shareholders other than the

Berkley Plaintiffs. Thus, Defendants would be forced to pay class members for harm that the

jury found was suffered by opt-outs. This violates baseline principles of class actions. Indeed,

in a footnote, Plaintiffs essentially invite the Court to correct this flaw by deducting the amount

of the verdict attributable to opt outs and distributing only the remainder to class members. Mot.

at 12 n.4. The Court should do so, although, as discussed below, correcting this flaw does not

resolve the Plan’s other defects.

       Under the Rules Enabling Act, the Federal Rules of Civil Procedure “shall not abridge,

enlarge or modify any substantive right.” 28 U.S.C. § 2072(b). Accordingly, “[i]t is axiomatic

that the procedural device of Rule 23 cannot be allowed to expand the substance of the claims of

class members.” Broussard v. Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 345 (4th Cir.

1998); see Amchem Prods, Inc. v. Windsor, 521 U.S. 591, 613 (1997) (similar). When

proceeding via a class action, class members may not recover damages greater than they would

be entitled to recover through separate individual actions.

       If a factfinder awards “gross damages for … the class[] as a whole,” the district court

must “us[e] appropriate procedures to ensure that the damages awards roughly reflect the

aggregate amount owed to class members.” Seijas v. Republic of Argentina, 606 F.3d 53, 58-59

(2d Cir. 2010). “[O]nce all class members … are made whole, the compensatory purpose of any

damage award has been completely satisfied.” Allapattah Servs., Inc. v. Exxon Corp., 157 F.



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Supp. 2d 1291, 1306 (S.D. Fla. 2001), aff’d, 333 F.3d 1248 (11th Cir. 2003), aff’d sub nom.

Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546 (2005). “To the extent that any

aggregate award exceeds the total amount of such damages,” it “would thereby violate [the

defendant]’s substantive rights … and would be contrary to the Rules Enabling Act.” Id.

       Courts employ a “variety of tools” to ensure that aggregate awards do not

overcompensate class members, Seijas, 606 F.3d at 59, including “revis[ing] aggregate damages

awards” to “deduct[]” amounts attributable to “parties who had opted out,” Hickory Sec. Ltd. v.

Republic of Argentina, 493 F. App’x 156, 158 (2d Cir. 2012). See also, e.g., Greenhaw v.

Lubbock Cnty. Beverage Ass’n, 721 F.2d 1019, 1026-27 (5th Cir. 1983) (holding that, when

awarding damages to individual class members, the district court “correctly” accounted for the

fact that the jury’s prior aggregate damages finding had included opt-outs), overruled on other

grounds by Int’l Woodworkers of Am., AFL-CIO & its Loc. No. 5-376 v. Champion Int’l Corp.,

790 F.2d 1174 (5th Cir. 1986); In re Lidoderm Antitrust Litig., No. 14-md-02521, 2017 WL

679367, at *12 (N.D. Cal. Feb. 21, 2017) (“If further analysis or refinement of who is in the class

and what purchases are relevant to the aggregate damages determination is necessary—because it

becomes clear that some proposed … class members were not injured or they decide [to] opt

out—that can be readily managed.”).

       Here, a portion of the jury’s aggregate damages award indisputably is attributable to

Enterprise shares that were validly opted out of the classes. At trial, Plaintiffs presented

evidence, and the jury found damages, based on losses experienced by all shareholders—100%

of the relevant Enterprise shares, including shares held by opt outs. The only damages evidence

Plaintiffs presented was testimony from their expert Dr. Mason regarding an event study

performed by Defendants’ expert Dr. Attari. See Trial II Tr. (excerpts attached as Exhibit A) at




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748:18-23, 750:16-52:8. The event study did not exclude, deduct, or account for shares held by

opt-outs, which were unknown at the time it was created. See PX-497-3 (attached as Exhibit B)

(data on the number of outstanding shares used in the event study); Trial II Tr. (Ex. A) at 753:17-

754:12 (Dr. Mason referring to PX-497-3 as part of “the guts of the model” that produced the

results “summarized in PX-375”). Dr. Mason, who did know the number of shares that were

held by opt-outs, likewise made no attempt to account for opt-outs; indeed, he never mentioned

them. At no point did the jury hear any evidence about opt-outs, let alone how opt-outs should

affect the award of damages. The jury instructions and verdict form likewise addressed all

current shareholders without addressing opt-outs. ECF No. 383 (“Final Jury Instr.”), at 7; ECF

No. 392 (“Verdict Form”), at 2.

       Plaintiffs do not suggest that the jury already accounted for the existence of opt-outs

when awarding aggregate damages. Yet Plaintiffs’ Proposed Plan nevertheless would distribute

the entire aggregate amounts found by the jury, without accounting for the fact that a portion of

those aggregate amounts are attributable to the one-day loss of market value of opted-out shares.

See Mot. at 10-12. In other words, Plaintiffs’ Plan of Allocation would distribute damages to

class members based on harm suffered by shareholders who are not class members. That is an

abridgement of Defendants’ substantive rights and an enlargement of Plaintiffs’ rights—a

textbook violation of the Rules Enabling Act.

       The Court can correct this obvious defect in Plaintiffs’ Proposed Plan—as Plaintiffs

themselves suggest—by simply setting the judgment amount for each class as the damages

amount found by the jury less the amount attributable to opt-outs. See Mot. at 12 n.4 (offering

proposed language). Plaintiffs cannot reasonably object to this approach. For one thing, it is

consistent with how their Proposed Plan already treats the shares owned by the Berkley




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Plaintiffs; the Berkley Plaintiffs are opt-outs, and under the Proposed Plan, the pro rata portion of

the jury’s damages award attributable to the Berkley Plaintiffs’ opted-out shares will be paid to

the Berkley Plaintiffs directly, not to the classes. See Ex. B, ECF No. 415-2, at 9-10.

        What’s more, Plaintiffs all but invite the Court to enter a judgment that is reduced by the

amount of damages associated with the non-Berkley shares that were opted out. See Mot. at 12

n.4.2 While Plaintiffs argue that the amount of money at stake is small relative to Defendants’

total liability, that amount—roughly $200,000 by Plaintiffs’ estimation—is far from trivial in

absolute terms. See id. at 11-12. And Plaintiffs offer no basis for this Court to approve a Plan of

Allocation that would give class members improper additional payments merely because, in

their view, such payment is “de minimis.” Id. at 10 n.2.

        Plaintiffs also contend that now is the wrong time to litigate this issue. On the one hand,

Plaintiffs assert that Defendants have objected too early—in Plaintiffs words, this is “a topic

more properly the subject of a remittitur motion than an objection to the Plan of Allocation.” Id.

at 12 n.4. On the other hand, Plaintiffs also assert that Defendants have objected too late—in

Plaintiffs’ words, because Defendants “failed to raise the issue either before or at trial,” it is

“waived.” Id. at 11. In addition to being contradictory, those assertions are wrong. This is not a

remittitur argument. Defendants are not contending that the jury’s aggregate damages award was

“excessive.” Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 433 (1996). The point is that

the Plan of Allocation must account for the existence of opt-outs, distributing damages to class

members based solely on class members’ own losses, not those of non-class members.




2
  During the parties’ meet-and-confer discussions, Plaintiffs offered to revise their plan of
allocation to deduct the portion of the jury’s aggregate damages award attributable to opt-outs,
see Mot. 11-12 & n.4, but were unwilling to address Defendants’ other objections discussed
herein.


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       Nor were Defendants required to raise this issue “before or at trial.” Other courts have

adjusted aggregate damages awards to account for opt-outs after a jury trial, see Greenhaw, 721

F.2d at 1026-27, or even on remand after an appeal, see Hickory Sec. Ltd., 493 F. App’x at 158.

Tellingly, Plaintiffs do not specify when or how Defendants should have raised this issue

previously—before Plaintiffs had presented a Proposed Plan that created this problem. Nor do

they identify any prejudice resulting from Defendants raising this issue now. Plaintiffs cite only

one case in support of their waiver argument—In re Urethane Antitrust Litigation, No. 04–1616,

2013 WL 3879264 (D. Kan. July 26, 2013), aff’d, 768 F.3d 1245 (10th Cir. 2014)—and it is

clearly distinguishable. In contrast to the defendants in In re Urethane, Defendants are not

arguing “that the jury could not find aggregate damages or that a separate trial was required for

an adjudication of individual members’ damages.” Id. at *1. Defendants simply contend that the

Proposed Plan should distribute damages to class members based on the harm suffered by class

members, not opt-outs.

       Finally, Plaintiffs’ repeated argument that “Defendants lack standing” to object to how

the judgment against them is distributed, e.g., Mot. at 1, 2, falls flat. Whether Defendants must

pay the full aggregate verdict or a lesser amount that accounts for opt-outs is not a purely internal

matter “among Class members.” Id. at 1. It affects “the total amount for which [Defendants]

would be liable,” which Plaintiffs concede Defendants have standing to challenge. Id. at 13.

Requiring Defendants to pay a larger amount to the class would result in a “classic pocketbook

injury” to the Defendants. Tyler v. Hennepin Cnty., Minnesota, 598 U.S. 631, 636 (2023).

II.    Plaintiffs’ Proposed Plan Would Improperly Pay Damages to Holders of Shares
       That Were Opted Out of the Classes

      Even if the Court excludes the distribution of any damages attributable to opted-out

shares, see supra Part I, the Proposed Plan still suffers from another fatal flaw relating to its



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treatment of opt outs. It would allow damages awarded to the classes to be paid to the holders of

shares that were opted out by a prior holder, in violation of the baseline principle that a person

(here, the prior holder) can only sell what she owns.

      Any proper plan of allocation must include a mechanism for identifying and excluding

from payment all opted-out shares, thereby limiting distributions only to class members. That is

a foundational principle of the Rule 23(b)(3) class action device. For any class certified under

Rule 23(b)(3), “the court must direct to class members the best notice that is practicable under

the circumstances,” which “must clearly and concisely state in plain, easily understood

language” that “the court will exclude from the class any member who requests exclusion.” Fed.

R. Civ. P. 23(c)(2)(B); see Amchem Prods., Inc., 521 U.S. at 614-15 (discussing the necessity of

opt-out procedures in class actions under Rule 23(b)(3)).

      Here, however, Plaintiffs’ Proposed Plan lacks a method to identify and exclude from

payment certain shares that were opted out. In particular, it would allow subsequent purchasers

of shares that had been opted out to receive damages awarded to the classes. See Mot. at 15. For

instance, if Person A opted out of the classes and listed 100 Fannie Mae junior preferred shares

on their exclusion notice, the Plan identifies those shares and excludes them from payment only

if they are still owned by Person A on the date of “final judgment” as set out in the class

definitions. By contrast, if Person A sells their opted-out shares at any point between the filing

of their exclusion notice and the final judgment date, then those same shares come back into the

class and their holder participates in the class recovery as if Person A had never opted out.

Plaintiffs do not deny that their Proposed Plan has no method for identifying these opted-out

shares, and they do not deny that their Plan would pay a subsequent purchaser of those shares as

if their prior holder had never opted out. That approach is erroneous.




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      In addition, Plaintiffs’ treatment of shares that are purchased by opt-outs is at odds with

their treatment of shares that are sold by opt-outs. Under Plaintiffs’ Plan, if an opt-out sells

shares that were listed on their exclusion notice, then their decision to opt out does not travel

with those shares, and thus the purchaser participates in the class recovery as if the seller had

never opted out. But if an opt-out subsequently buys shares from a non-opt-out, then the seller’s

decision not to opt out effectively does travel with those shares, and thus the purchaser, who

opted out, participates in the class recovery. In other words, under the Plan, a shareholder’s

decision to opt out does not travel with the shares, but a shareholder’s decision not to opt out

effectively does travel with the shares.3 Plaintiffs do not—and cannot—provide any principled

basis for that inconsistency.

      In this regard, the Proposed Plan is contrary to Plaintiffs’ longstanding argument that their

rights in this case “travel with the share”—i.e., that the sale of securities automatically assigns

the rights at issue in this case to the buyer. While Defendants have disagreed with that

interpretation, the Court has adopted it.4 And if the sale of the security entails an automatic



3
 Alternatively, Plaintiffs argue that opt-out status does not travel with the share because it is
“personal.” See Email from Plaintiffs’ counsel to Defendants’ counsel, Dec. 29, 2023 (attached
as Exhibit C); infra, pp.13-14. And yet Plaintiffs maintain that a person who opted out can still
participate in the recovery, so long as they buy new shares, notwithstanding the “personal”
nature of opting out. That suggests that Plaintiffs are taking inconsistent positions about the
“personal” status of opting out as well.
4
   In its 2018 ruling on Defendants’ motion to dismiss, the Court held for the first time that “the
bargained-for rights related to dividends and liquidation preferences traveled with the shares to
subsequent purchasers.” Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency (“MTD Ruling II”),
No. CV 13-1053, 2018 WL 4680197, at *8 (D.D.C. Sept. 28, 2018). The Court reiterated the
view that the claim here “traveled with the shares” in multiple subsequent orders, even after
Plaintiffs’ theories had fundamentally changed. See In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class Action Litigations, No. 1:13-MC-1288, 2021 WL
5799379, at *8 (D.D.C. Dec. 7, 2021) (“[B]ecause the ‘[r]ights associated with dividends and
liquidation preferences inhere in the security,’ the Court need not further divide the classes for
those who purchased their shares after the Third Amendment.” (quoting MTD Ruling II, 2018


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assignment to the buyer, then that assignment is subject to the longstanding principle that “a man

cannot grant a thing which he has not—nemo dat quod non habet.” Patterson v. Gardner, No.

CL22-10435, 2023 Va. Cir. LEXIS 225, *9 (Va. Cir. Nov. 21, 2023) (quoting Brockenbrough’s

Ex’x v. Brockenbrough’s Adm’r, 72 Va. 580, 592 (1879)); accord Fringer v. Kersey Homes, Inc.,

C.A. No. 9780, 2018 WL 3107961, at *5 n.88 (Del. Ch. June 25, 2018) (recognizing the general

legal rule that “no one gives which he does not possess”). Here, an opt-out has no right to

participate in the class recovery, and thus they cannot assign a right to participate in the class

recovery. Put differently, if the claim travels with the shares, then the opt-out election must do

so as well.

      Winn-Dixie Stores, Inc. v. Eastern Mushroom Marketing Cooperative, No. 06-0620, 2020

WL 5211035 (E.D. Pa. Sept. 1, 2020), is instructive. There, Company A was a plaintiff in an

antitrust class action and expressly assigned its claims to Company B, which filed its own

separate opt-out action purportedly as Company A’s assignee. Id. at *7-*8. Company A,

however, had not opted out of the class by the opt-out deadline. The defendants thus “argue[d]

that, because [Company A] conveyed its antitrust claims after the deadline to opt out of the class




WL 4680197, at *8)); see also id. (“Those stockholders that held stock on August 12, 2012, but
sold shares thereafter are no longer members of the class and their claims traveled to the
purchasers of their shares.”); Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency (“MIL Ruling”),
636 F. Supp. 3d 144, 158 (D.D.C. 2022) (“Because ‘the contractual rights [plaintiffs] seek to
enforce … inhere in the security, traveling to each subsequent acquirer,’ the time that any
plaintiff purchased GSE shares is irrelevant.” (quoting MTD Ruling II, 2018 WL 4680197, at
*8)); accord Aug. 1, 2023, Minute Entry (denying Rule 50(a) motion at second trial that
challenged travel with the share ruling); Oct. 26, 2022, Minute Entry (denying Rule 50(a) and
class decertification motion at first trial that challenged travel with the share rulings).
Defendants have repeatedly argued that the claim here does not travel with the shares and reserve
all rights to challenge any ruling that the claim here does travel with the shares. See, e.g.,
Cheatham I.R.A. v. Huntington Nat’l Bank, 137 N.E.3d 45 (Ohio 2019) (surveying law and
holding that breach of contract claims do not automatically travel with the share through sale of
the security).


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action had passed, [Company B] never had the right” to bring a separate action as an opt-out. Id.

at *8. The court agreed and dismissed Company B’s lawsuit. The court reasoned that, “[u]nder

the common law principle of nemo dat quod non habet, . . . the assignee[] obtains by the transfer

only what its assignor had.” Id. at *10 (citing 29 Williston on Contracts § 74:56 (4th ed. 1999);

Mitchell v. Hawley, 83 U.S. 544, 550 (1872)) (cleaned up)). Thus,“[b]ecause [Company A]

lacked the right to prosecute its own claims outside the class action, . . . [Company B] as

assignee, also lacks the right to do so.” Id. In other words, when a non-opt-out assigns a claim,

the assigned claim is part of the class and cannot be asserted in a separate individual action.

      The corollary is true here. When an opt-out assigns a claim, the assigned claim is not part

of the class and can only be asserted in a separate individual action. Because shareholders who

opted out of the classes lack the ability to participate in any class recovery, so too do any

purported assignees who purchased the opt-out’s shares. If there is a valid assignment, “[i]t is

blackletter law that ‘the assignee steps into the shoes of the assignor.’” Id. at *11 (quoting

Williston on Contracts § 74:56). As a result, “an assignee’s right against the obligor is subject to

all . . . defenses thereto” including “defenses based on where and how the claims may be

prosecuted.” Id. (internal citation omitted).

      Plaintiffs’ sole response to this point during the meet-and-confer was to argue that the

relevant rights of the assignor (here, the opt-out) do not travel with the share. As Plaintiffs put it:

       Urdan v. WR Capital Partners, 244 A.3d 668, 677-80 (Del. 2020), discusses, in
       general terms, the distinction between claims that inhere in the shares (and thus
       travel with the shares) and claims that are personal to the shareholder (and thus do
       not travel with the shares).

       As the Delaware Court of Chancery discussed in In re Activision Blizzard, Inc.
       Stockholder Litig., 124 A.3d 1025, 1056 (Del. Ch. 2015) regarding a claim for
       securities fraud, which the Court held was a personal claim, “The property
       happens to be shares, but the cause of action is not a property right carried by the
       shares, nor does it arise out of the relationship between the stockholder and the
       corporation.” Likewise, the right to opt out “is not a property right carried by the


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       shares, nor does it arise out of the relationship between the stockholder and the
       corporation.

Ex. C (Email from Plaintiffs’ counsel to Defendants’ counsel, Dec. 29, 2023).

      But this position is contrary to the position Plaintiffs have successfully advanced

throughout this case, and thus is barred by judicial estoppel. “Judicial estoppel prevents a party

from obtaining an unfair advantage by ‘prevailing in one phase of a case on an argument and

then relying on a contradictory argument to prevail in another phase.’” Simon v. Republic of

Hungary, 77 F.4th 1077, 1100 (D.C. Cir. 2023) (quoting New Hampshire v. Maine, 532 U.S.

742, 749 (2001)); accord Moses v. Howard Univ. Hosp., 606 F.3d 789, 798 (D.C. Cir. 2010)

(similar). “Under this rule, a court may block a party from shifting its position if the positions

clearly contradict, if the party successfully persuaded one court to adopt its first position so that

flip-flopping creates the perception a court was misled, or if the party would derive an unfair

advantage from the change.” United States v. Slatten, 395 F. Supp. 3d 45, 76 (D.D.C. 2019)

(Lamberth, J.); see also Marshall v. Honeywell Tech. Sys., Inc., 73 F. Supp. 3d 5, 9 (D.D.C.

2014) (Lamberth, J.) (holding the facts justified the application of judicial estoppel).

      Here, Plaintiffs repeatedly argued that the claims travel with the share when it was to their

benefit, including in their opposition to the motion to dismiss, ECF No. 72, at 33-34; in support

of class certification, ECF No. 132-1, at 9 & n.4; in opposition to summary judgment, ECF No.

147, at 46; and in support of their motions in limine. See ECF No. 176, at 19-21; ECF No. 193,

at 17-18. As explained, if the claim travels with the share, then the buyer steps into the seller’s

shoes and holds what the seller held—no more, no less. But now that that principle would

complicate their Plan of Allocation, Plaintiffs maintain that the buyer does not step into the

seller’s shoes, such that a buyer of opted-out shares can participate in the class recovery even




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when the seller could not. Plaintiffs should be prohibited from “changing positions according to

the exigencies of the moment.” E.g., Slatten, 395 F. Supp. 3d at 76.

      Indeed, adopting Plaintiffs’ approach would call the certification of the classes into

question. In Brecher v. Republic of Argentina, 806 F.3d 22 (2d Cir. 2015), for instance, the

Second Circuit vacated a judgment in favor of classes made up of current holders of beneficial

interests in bonds, in part, because it would run the risk that current holders had purchased bonds

from individuals who obtained the bonds from opt-outs. The court used a hypothetical to

illustrate the problem:

       Two bondholders—A and B—each hold beneficial interests in $50,000 of bonds.
       A opts out of the class, while B remains in the class. Following a grant of summary
       judgment on liability, both A and B then sell their interests on the secondary market
       to a third party, C. C now holds a beneficial interest in $100,000 of bonds, half
       inside the class and half outside the class. If C then sells a beneficial interest in
       $25,000 of bonds to a fourth party, D, the absence of a temporal limitation like the
       continuous holder requirement ensures that neither the purchaser nor the court can
       ascertain whether D’s beneficial interest falls inside or outside of the class.

Id. at 26. Because there was no way to identify whether the subsequent purchasers held opt-out

shares, the Court found the classes “insufficiently definite as a matter of law.” Id. The court

further noted that “[e]ven if there were a method by which the beneficial interests could be

traced, determining class membership would require the kind of individualized mini-hearings

that run contrary to the principle of ascertainability.” Id. Here, as in Brecher, Plaintiffs’

Proposed Plan would impermissibly allow individuals who purchased securities from opt-outs to

participate in the class recovery. A proper plan of allocation must include a feasible method of

excluding such shares from payment.

      Finally, Plaintiffs’ only other arguments are that defendants “should have objected to the

definitions [of the classes] at the class certification stage” and that Defendants lack standing.

Mot. at 10, 14. Both are specious. As to waiver, just as the parties’ consent is irrelevant to



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whether a class may be certified, see Valentino v. U.S. Postal Serv., 674 F.2d 56, 66 n.12 (D.C.

Cir. 1982), consent to class certification cannot excuse a defect in a plan of allocation.

Moreover, Plaintiffs fail to mention that Defendants have objected to these classes: after

Plaintiffs fundamentally changed the theory of their case, Defendants moved to decertify the

classes. And the proposed stipulation that Plaintiffs reference was never entered, and in any

event does not say that opt-outs can participate in a class recovery. See ECF No. 133. In any

event, that the class definitions “provided for the participation of the ‘successors in interest,’”

Mot. at 14, says nothing about opt-out rights. A successor in interest to a class member can

participate in the class recovery, but a successor in interest to an opt-out cannot. It is Plaintiffs’

burden, not Defendants’, to propose a plan of allocation that provides a feasible way to exclude

opted-out shares from the class recovery.

       As to standing, “[a]s a matter of fairness and ‘basic due process,’ in a class action not

resolved by settlement, a defendant who will ultimately pay damages to class members has a

right to participate in claims administration and to object and oppose any unfounded or incorrect

claim. Apart from any element of liability, [the defendant] has an interest in not paying damages

to persons who are not proper class members, which aligns with the Court’s interest in insuring

that only class members receive damages awards.” Krakauer v. Dish Network, LLC, No. 1:14-

CV-333, 2017 WL 3206324, at *6 (M.D.N.C. July 27, 2017). Plaintiffs attempt to distinguish

Krakauer on the facts, see Mot. 13, but the principles it recognized are not so limited. And the

other cases Plaintiffs cite, see id. at 12, address the standing of non-defendant third parties, not

defendants. Nor do Plaintiffs’ cases address this Court’s independent responsibility to ensure

that the class recovery is distributed to class members rather than holders of opted-out shares.

See Krakauer, 2017 WL 3206324, at *6; Valentino, 674 F.2d at 66 n.12.




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       The Court should reject the Plan to the extent it authorizes the payment of class damages

to the holders of shares that were opted out of the classes.

III.    Any Unclaimed Funds Must Revert to Defendants in Lieu of a Cy Pres Fund

        The Court should decline to allocate any unclaimed funds for cy pres distribution. Cy

pres distributions are of questionable legality, and, in any event, the equities overwhelmingly

favor returning unclaimed funds to the Enterprises, both because Plaintiffs’ cause of action is

compensatory and because of the Enterprises’ critical public missions in sustaining the secondary

mortgage market and supporting affordable housing.

        District courts are “required to formulate a procedure for distributing unclaimed funds”

because “[i]n a majority of class actions at least some unclaimed damages or unlocated class

members remain.” Six (6) Mexican Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1306-07

(9th Cir. 1990). Federal courts have employed varying methods for distributing unclaimed class

action funds. See Wilson v. Southwest Airlines, Inc., 880 F.2d 807, 812 (5th Cir. 1989); Van

Gemert v. Boeing Co., 739 F.2d 730, 737 (2d Cir.1984).

        Although some courts have used cy pres to distribute unclaimed funds, the use of cy pres

is inconsistent with the Rules Enabling Act. As explained above, supra, p. 5, under the Rules

Enabling Act, use of the class action device is not permitted to modify, enlarge, or diminish any

party’s substantive rights. Yet, in an individual lawsuit, if a plaintiff fails to enforce the

judgment, the defendant retains the funds; it is only in class actions under Rule 23 that federal

courts have used the cy pres remedy to transfer the money from the defendant to a third party.

Therefore, when cy pres is used, the class action device is modifying the defendant’s substantive

rights in contravention of the Rules Enabling Act.

        Courts and jurists have thus been correctly skeptical that cy pres distributions in class

actions are lawful. See In re BankAmerica Corp. Sec. Litig., 775 F.3d 1060, 1066 (8th Cir. 2015)


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(“Distribution of funds at the discretion of the court is not a traditional Article III function.”)

(internal citation omitted); Klier v. Elf Atochem N. Am., Inc., 658 F.3d 468, 481-82 (5th Cir.

2011) (Jones J., concurring) (suggesting cy pres distributions “violate the Rules Enabling Act”);

see also Marek v. Lane, 571 U.S. 1003, 134 S. Ct. 8, 9 (2013) (Roberts, C.J., statement

respecting the denial of certiorari) (explaining that in a “suitable case, this Court may need to

clarify the limits on the use of such remedies” including addressing “fundamental concerns

surrounding the use of such remedies in class action litigation, including when, if ever, such

relief should be considered” (emphasis added)).

        Courts that have considered cy pres funds, moreover, have done so as an exercise of their

equitable powers. See, e.g., Boeing Co. v. Van Germert, 444 U.S. 472, 482 (1980)

(acknowledging defendant’s equitable claim to unclaimed class settlement funds); Friedman v.

Lansdale Parking Auth’y, No. 92-7257, 1995 U.S. Dist. LEXIS 4003, *1, (E.D. Pa. Mar. 30,

1995) (holding that refunding unclaimed settlement funds to defendant was “the most equitable

solution”). In exercising its equitable powers, the Court should follow numerous other courts

that have ordered reversion to the defendants. See, e.g., Wilson, 880 F.2d at 816 (approving

reversion of unclaimed settlement funds to defendant); Van Germert., 739 F.2d at 736-37 (same);

Friedman, 1995 U.S. Dist. LEXIS 4003, at *1 (holding that refunding unclaimed settlement

funds to defendant was “the most equitable solution”). “The district court’s choice among

distribution options should be guided by the objectives of the underlying statute and the interests

of the silent class members.” Six (6) Mexican Workers, 904 F.2d at 1307. Here, all of those

interests favor reversion.

        First, courts have reverted unclaimed funds to defendants when the plaintiffs’ cause of

action is compensatory, rather than punitive or about deterrence. See Diamond Chem. Co. v.




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Akzo Nobel Chemicals B.V., 517 F. Supp. 2d 212, 218-19 (D.D.C. 2007); Willcox v. Lloyds TSB

Bank, plc, No. 13-00508, 2017 WL 487018, at *3 (D. Haw. Feb. 6, 2017); Wilson, 880 F.2d at

816; see also Augustin v. Jablonsky, 819 F. Supp. 2d 153, 177 (E.D.N.Y. 2011) (rejecting

proposal to distribute unclaimed funds to class members who already received payment because

it would give class members “a windfall,” which would be “inconsistent with the general legal

ten[e]t that compensatory damages should do no more than compensate a victim for their

injury”). Using cy pres in a compensatory case would go beyond the plaintiffs’ cause of action

to impose a remedy that is “in effect … punitive.” FTC v. Figgie Int’l, Inc., 994 F.2d 595, 607

(9th Cir. 1993). Indeed, “it would be inherently punitive to the [defendants] not to return all

unused funds that are no longer needed for compensation.” In re Am. Online, Inc. Version 5.0

Software Litig., No. 00–1341, 2003 WL 27167779, at *1 (S.D. Fla. Jan. 29, 2003). Here,

Plaintiffs’ contract-based claim is purely compensatory, and all identifiable class members will

be fully compensated before any unclaimed funds are distributed. To Defendants’ knowledge,

no court has ever ordered a cy pres fund over a defendant’s objection in a case exclusively

involving claims for breach of contract or another compensatory cause of action. This Court

should not be the first.

        Second, courts generally strive to put unclaimed funds to a use that will benefit

unidentifiable class members as directly as possible. As one court put it, “unclaimed funds

should be distributed for a purpose as near as possible to the legitimate objectives underlying the

lawsuit, the interests of class members, and the interests of those similarly situated.” See In re

BankAmerica Corp. Sec. Litig., 775 F.3d at 1067. Here, the best way to benefit the class

members who could not receive their proportionate share of the judgment is to revert the

unclaimed funds to the Enterprises, whose stock they own. Plaintiffs’ theory in this case was




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that Enterprise capital was improperly diverted to Treasury. Reverting the unclaimed funds

would increase the Enterprises’ capital, which would benefit all shareholders and would do so

more directly than diverting funds to a third-party charity.

       Third, reversion is uniquely appropriate in this case, where the Defendants generally, and

FHFA’s conservatorship specifically, have important public missions. Congress has affirmed the

Enterprises’ “important public missions” “reflected in the statutes and charter Acts establishing”

them, and has provided that their “continued ability … to accomplish their public missions is

important to providing housing in the United States and the health of the Nation’s economy.” 12

U.S.C. § 4501(1), (2). Congress also has made clear that the Enterprises have “an affirmative

obligation to facilitate the financing of affordable housing for low- and moderate-income

families in a manner consistent with their overall public purposes, while maintaining a strong

financial condition and a reasonable economic return.” Id. § 4501(7); see 12 U.S.C. § 1716

(Fannie Mae charter statement of purpose); 12 U.S.C. § 1451 note (same for Freddie Mac). Each

Enterprise thus has a “special, public purpose” and a “special relationship with the federal

government.” S. Rep. No. 102-282 (1992), at 25, 34.

       Indeed, a critical part of each Enterprise’s public mission is to facilitate and fund

affordable housing—the same purpose served by Plaintiffs’ proposed cy pres fund. The

Enterprises are the largest funders of affordable housing in the country.

       Permitting the Enterprises to retain unclaimed funds thus would further the important

public missions of the Enterprises and of FHFA—including supporting affordable housing. See

Friedman, 1995 U.S. Dist. LEXIS 4003, at *14 (“[S]ince public funds paid for the [judgment], it

is only just that the excess be returned to the [agency] for the benefit of the entire community.”).




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That is vastly preferable to expanding the cy pres doctrine beyond the limited circumstances

where it has previously been found appropriate—especially in light of its questionable legality.

       Contrary to Plaintiffs’ assertion, see Mot. 17, Defendants have standing to object to a cy

pres distribution for the obvious reason that not reverting the funds to the Enterprises would

result in injury to the Defendants. See Tyler, 598 U.S. at 636 (holding that an “illegally

appropriated … surplus” is “a classic pocketbook injury sufficient to give … standing”). Courts

routinely decide motions by Defendants seeking reversion on the merits. See, e.g., Diamond

Chem. Co., 517 F. Supp. 2d at 216–17. To Defendants’ knowledge, no court has ever held they

lacked standing to do so. The lone case Plaintiffs cite as “holding” that a defendant “lack[s]

standing to challenge the distribution of unclaimed funds” did not hold that—in fact, the court

ruled on the defendants’ objections on the merits. See Mot. at 17 (citing Six (6) Mexican

Workers, 904 F.2d at 1306-07).

       Plaintiffs are also incorrect that Defendants have “no basis to seek reversion of any

undistributed funds” because Defendants “failed to object at trial to the verdict form that required

the jury to determine the total aggregate ‘amount of damages.’” Mot. at 17. There is simply no

connection between the verdict and the issue of unclaimed funds, and Plaintiffs cite no authority

drawing such a connection. The issue of unclaimed funds arises in virtually all class actions, and

courts are thus often called upon to resolve this issue post-trial.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ motion for entry of final

judgment and should decline to enter any final judgment or approve any plan of allocation unless

(1) the portion of the jury’s aggregate damages award attributable to shares held by opt-outs is

deducted from the total amount to be distributed to class members; (2) all shares held by opt-outs




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at the time of their opt-out notices are excluded from payment; and (3) any unclaimed funds

revert to Defendants in lieu of a cy pres fund.




 Dated: February 5, 2024                           Respectfully submitted,

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